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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                             §
                                                   §
HL BUILDERS, LLC f/k/a                             §          Case No. 19-32825
CD HOMES, LLC,                                     §
                                                   §
                 Debtor.                           §          (Chapter 11)

    PETITIONING CREDITORS’ BRIEF IN SUPPORT OF INVOLUNTARY PETITION

TO THE HONORABLE EDUARDO V. RODRIGUEZ, BANKRUPTCY JUDGE:

         Houtex Builders, LLC (“Houtex”), 415 Shadywood, LLC (“Shadywood”), and 2203

Looscan Lane, LLC (“Looscan” and collectively with Houtex and Shadywood, the “Petitioning

Creditors”) file this Brief in Support of Involuntary Petition against HL Builders, LLC1 (the

“Debtor”), and respectfully state as follows:

                                    PRELIMINARY STATEMENT

         1.      As this Court observed, a trial to dismiss an involuntary proceeding “is not one of

these normal trials where you have a discovery period and you have pretrial orders and stipulations

to exhibits and things of that nature.”2 Therefore, a dismissal of an involuntary bankruptcy case

should not be granted unless it “appears to a certainty” that the petitioning would be entitled to no

relief under any circumstances. In re Sundown Assocs., 150 B.R. 156, 158 (Bankr. E.D. Va. 1992)

(citing Rogers v. Jefferson Pilot Life Insurance Co., 883 F.2d 324, 325 (4th Cir.1989)). Here,

Petitioning Creditors’ presented a set of facts at trial that meet the standards that section 303 of the

Bankruptcy Code require.3 Therefore, dismissal is not appropriate.


1
         On September 14, 2018, CD Homes, LLC filed a Certificate of Amendment with the Texas Secretary of State
         to change its name to HL Builders, LLC.
2
         8/20/19 Hr. 116:8-10.
3
         11 U.S.C. §§ 101 – 1532.
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       2.       The Debtor is a home building company.4 Each of the Petitioning Creditors are

special purpose entities set up to build one or more homes with the Debtor (each a “Project”).5

Each of the Petitioning Creditors is a party to certain contracts with the Debtor, including an

Investor Agreement (defined below).6 The Investor Agreements set forth how the Projects are to

be financed.7 Specifically, the Investor Agreements provide that there will be a construction loan

and an equity loan in connection with each Project and the Debtor is to provide any additional

funds required for the Project.8        Furthermore, the Investor Agreements establish how the net

proceeds are to be distributed upon the sale of the Project.9 The Investor Agreements provide that

if there are insufficient funds at closing to make the required payments set forth in the Investor

Agreement then the Debtor is to make up the shortfall at closing of the Project.10

       3.       Here, each Petitioning Creditor sold a Project at the end of 2018 or beginning of

2019.11 In each of these cases the net proceeds from the sale of the Projects were insufficient to

make the required payments under the Investor Agreement.12 In each of these cases, the Debtor

did not come to closing to make up the shortfall.13

       4.       In an attempt to escape its obligations under the Investor Agreement, the Debtor

alleges that the Investor Agreements were modified. As discussed in more detail below, these



4
       Petitioning Creditors’ Exhibits 1, 2, 3 and 4.
5
       See id.
6
       Id.
7
       Id., Investor Agreements.
8
       Id., Investor Agreements, § 6.
9
       Id., Investor Agreements, § 8.
10
       Id.
11
       7/16/19 Hr. 47:17-18; 64:23-65:1. 68:11-13. 8/20/18 Hr. 67:4-8.
12
       7/16/19 Hr. 59:25-60:21; 64:23-65:1; 67:1-69:11.
13
       8/20/18 Hr. 61:7-12; 67:4-8. With respect to making a written demand for payment, the Petitioning Creditors
       contend that such demand would be futile as the Debtor is refusing to acknowledge liability as evidenced by
       the trial for this involuntary bankruptcy and Mr. Parker said the Debtor had no money. See 8/20/19 Hr. 92:8-
       15.



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arguments lack a legal and factual basis.

       5.       Additionally, the testimony of Mr. Parker, the Debtor’s representative, directly

conflicts with the testimony of Mr. Foster, the Petitioning Creditors’ representative. In response

to the question “did you ever agree to amend or modify the investor agreements associated with

any of the petitioning creditors?” Mr. Foster responded: “No. I don’t remember any of those

discussions of anything like that. No, not at all.” Accordingly, the Court must evaluate the

credibility of the witnesses.14

       6.       The credibility of the witnesses is telling on a key issue – whether Mr. Foster ever

asked Mr. Parker to delay construction of the Projects. Mr. Parker relies on this argument – that

Mr. Foster requested the delays – as the basis for the alleged modifications.15 When Mr. Parker

was asked why the Petitioning Creditors would make such a request to delay construction in light

of the fact that the Debtor guaranteed a profit to each of the Petitioning Creditors under the Investor

Agreement, Mr. Parker responded: “I can only relay to what [Mr. Foster] personally said to me.

And his personal comments were, Bob, we could get into trouble here whereabouts. I’m really

concerned about what’s going to happen with these projects. Delay, delay, delay.”16

       7.       However, such a request would make no sense because the Petitioning Creditors

would only realize a profit upon the sale of the Projects and therefore would want the Projects

constructed and sold as quickly as possible. In fact, when Mr. Foster was asked whether he asked

to delay construction he responded: “No. I want to be very clear. It was just the opposite. I was

extremely frustrated that it was taking so long to complete the construction because in my simple




14
       8/20/19 Hr. 81:7-11.
15
       8/20/19 Hr. 41:2-6 (“I'm going to respond to what he said to me. Bob, I am very concerned about these
       projects. The market may turn bad. Let's delay, delay, delay, delay, delay. Well, at that point in time, that is
       a significant modification of an arrangement.”)
16
       8/20/19 Hr. 41:17-20.


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mind we weren’t going to be able to sell the properties. I even knew, I didn’t consider myself very

knowledgeable in this, but I even knew that I was focused totally on the bank construction loan

that I was fully aware of that I had guaranteed, that that wasn’t going to be repaid until we sold the

properties. And we couldn’t sell the properties until the construction was completed. I complained

and had expressed frustration over and over again that it was taking so long, at some point.”17 Mr.

Foster said that what he wanted to “delay” was doing any additional projects with Mr. Parker:

“And I told him I did not want to do any more developments with him.”18             The terms of the

Contractor Agreements support Mr. Foster’s testimony as the Contract Agreements provide that

the Debtor shall complete construction within twelve months of the commencement date.19

         8.       Here, Mr. Foster’s testimony is credible, and Mr. Parker’s testimony is not. The

Petitioning Creditors had every incentive to have the construction of the Projects completed as

quickly as possible. It even makes less sense that the Petitioning Creditors would request a delay

in construction, and then have this request serve as the basis to modify the Investor Agreement to

waive hundreds of thousands of dollars that the Debtor would otherwise be obligated to pay.

         9.       It is undisputed that the Projects subject to the Investor Agreements were sold and

it is undisputed that the Debtor did not come to closing with any funds. Since there were no legal

modifications to the Investor Agreements, the Debtor was obligated to bring to closing the

shortfalls necessary to make the required payments under the Investor Agreements and it failed to

do so.




17
         8/20/19 Hr. 80:21-81:6.
18
         8/20/19 Hr. 85:9-10.
19
         Petitioning Creditors’ Exhibits, 1, 2 and 4, Contractor Agreements, § 2.



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                                     FACTUAL BACKGROUND

       10.     During 2013 and 2014, each of the Petitioning Creditors entered into a set of

contracts with the Debtor.20 These contracts establish the terms of the construction and financing

of a single-family home (each such home construction project, a “Project”).21           The contracts

include a certain investor agreement (each, an “Investor Agreement”) which establishes how the

Projects are financed.22

       11.     Each Investor Agreement discloses that there is a construction loan and a certain

equity loan (each an “Equity Loan”) for each Project.23 The Investor Agreements provide that if

funds are required to make any payments that exceed the sum of the construction loan and the

Equity Loan, “all such funds are to be provided by [the Debtor].”24

       12.     Even though the terms of the Investor Agreement indicate that the Equity Loans

are provided by the “Investor” i.e., the respective Petitioning Creditor, the Debtor alleges that third

parties – rather than the Petitioning Creditors – provided the Equity Loans. However, the Debtor

through its representative Mr. Parker, is unable to identify which third-party provided the Equity

Loan for each Project.25

       13.     Giving the Debtor the benefit of the doubt that third parties provided the Equity

Loans and not the Petitioning Creditors, the Debtor arranged for funding in connection with each

of the Petitioning Creditors’ Projects that far exceeded the amount of the permitted Equity Loans

as set forth in the Investor Agreements. Specifically, the Investor Agreements provide that the



20
       Petitioning Creditors Exhibits 1, 2, 3, and 4.
21
       Id.
2222
       Id., Investor Agreements.
23
       Id., Investor Agreements, §§ 6, 8.
24
       Id., Investor Agreements, § 6.
25
       Petitioning Creditors Exhibit 8, Tr. 60:21-62:12; 62:15–62:22; 66:5-66:7




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principal amounts of the Equity Loans are as follows: $405,000.00 for 415 Shadywood;26

$638,625.00 for 2203 Looscan;27 $339,000 for 5325 Lynbrook;28 and $459,750 for 3 Thornblade.29

         14.      The Debtor caused the Petitioning Creditors to use funds from third-party loans as

follows:

              Houtex entered into loan with Spirit of Texas Bank (“SOTB”) in the amount of $1.6
               million (the “$1.6 Million SOTB Note”).30 According to a Sources and Uses chart
               prepared by the Debtor,31 the Debtor caused Houtex, Shadywood and Looscan to use
               proceeds from the $1.6 Million SOTB Note to fund expenses for the Projects as
               follows: (i) 3 Thornblade (owned by Houtex) in the amount of $467,635.43, (ii) 2203
               Looscan in the amount of $20,000, and (iii) 415 Shadywood in the amount of
               $406,323.41.

              Houtex entered into a $500,000 line of credit from Spirit of Texas Bank (the “SOTB
               LOC”) which had $483,754.90 principal and interest outstanding as of the date Houtex
               filed its voluntary petition for bankruptcy relief and such loan is secured by 3
               Thornblade.32

              Houtex entered into a $387,254.71 loan from Great Southwest Financial Corp.
               (“GSFC”) that is secured by 3 Thornblade.33

              The Petitioning Creditors entered into loans with Pensco Trust, Jim D and Nored,
               Hmaidan & Hmaidan as reflected in the deeds of trust admitted into evidence.34

         15.      The excess funding over the Equity Loan Amount is reflected in the following

chart:




26
         Petitioning Creditors’ Exhibit 2, Investor Agreement, § 8.
27
         Petitioning Creditors’ Exhibit 1, Investor Agreement, § 8.
28
         Petitioning Creditors’ Exhibit 4, Investor Agreement, § 8.
29
         Petitioning Creditors’ Exhibit 3, Investor Agreement, § 8.
30
         Petitioning Creditors’ Exhibit 6, bates 59-62.
31
         Petitioning Creditors’ Exhibit 7.
32
         Petitioning Creditors’ Exhibit 6, bates 58, 86-93, 97-115.
33
         Petitioning Creditors’ Exhibit 5.
34
         Petitioning Creditors’ Exhibit 38 (Jim D. Nored in the amount of $244,000 against 415 Shadywood), Exhibit
         39 (Jim D. Nored in the amount of $118,650 against 415 Shadywood), Exhibit 40 (Hmaidan & Hmaidan,
         LLC in the amount of $783,000 against 2203 Looscan, Exhibit 41 (Pensco Trust Co. in the amount of
         $347,600 against 415 Shadywood), Exhibit 43 (Jim D. Nored in the amount of $339,000 against 5325
         Lynbrook) and Exhibit 44 (Jim D. Nored in the amount of $90,640 against 5325 Lynbrook).


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     Property        Equity Loan                   Third-Party Funding                 Excess Funding Over
                      Amount                        (principal amount)                 Equity Loan Amount
 415                $405,000             SOTB ($1.6MM) - $406,323.41                   $711,573.41
 Shadywood                               Pensoco Trust - $347,600
                                         Jim D. Nored - $244,000
                                         Jim D. Nored - $118,650
                                         Total: 1,1116,573.41
 2203 Looscan       $638,625             SOTB ($1.6MM) - $20,000                       $119,375.00
 Lane                                    Hmaidan & Hmaidan, LLC - $783,000
                                         Total: $803,000.00
 3 Thornblade       $459,750             SOTB ($1.6MM) - $467,635.43                   $878,886.04
                                         SOTB (LOC) - $483,745.90
                                         GSFC. - $387,254.71
                                         Total: $1,338.638.04
 5325               $339,000             Jim D. Nored - $339,000                       $90,640.00
 Lynbrook                                Jim D. Nored - $90,640
                                         Total: $429,640.00

        16.      Section 8 of the Investor Agreements establish how the net proceeds of the sale of

the Projects are to be distributed at closing. Specifically, section 8 of the Investor Agreements

provide:

        The title company is to distribute Net Proceeds as follows: First, Net Proceeds will be used
        to repay the outstanding balance of the [construction] Loan. Second, Net Proceeds will be
        used to repay Investor’s equity of [a specified amount for each Project reflected in the chart
        above] (hereafter “Investor’s Equity”). Third, Net Proceeds will be used to pay Investor
        $50,000. Fourth, Net Proceeds will be used to pay 15% per annum interest on the Equity
        Loan. Fifth, Net Proceeds will be used to pay [the Debtor] any amount it was required to
        provide under paragraph 6 of the Agreement. Sixth, Net Proceeds will be used to pay [the
        Debtor] $50,000. All remaining Net Proceeds will be split equally between Investor and
        CD. If Net Proceeds are less than the amount required to make the first through the
        sixth payments listed above, then [the Debtor] is to provide at closing the funds necessary
        to make up for the shortfall.

Accordingly, the required payments under section 8 of the Investor Agreement include all the

amounts required under section 6 of the Investor Agreement (i.e., any funds over the construction

loan and the Equity Loan) plus a $50,000 payment to the Petitioning Creditors.35


35
        Petitioning Creditors’ Exhibits 1, 2, 3 and 4, Investor Agreements, §§ 6, 8.



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       17.     It is undisputed that the Debtor did not come to the closing for 415 Shadywood,

2203 Looscan or 3 Thornblade with any funds.36      In other words, it did not come to closing with

the additional funds required under section 6 of the Investor Agreement nor did it come to closing

with the $50,000 payment to the Petitioning Creditor.

       18.     The Debtor alleges that the Investor Agreements were modified to change the

Equity Loan amount and to remove the obligation of the Debtor to pay $50,000 to the Petitioning

Creditors.   However, the Debtor and its representative Mr. Parker are unable to identify the

material terms of such modifications.

       19.     With respect to the removal of the $50,000 payment, Mr. Parker stated: “I don’t

recall a discussion specifically of the $50,000.”37 The Petitioning Creditors contend that there were

no modifications and the Debtor simply failed to meet their obligations to come to closing with

the amounts it was required to pay under Section 8 of the Investor Agreement.

                                     LEGAL ARGUMENTS

       A.      The Failure to Check the Box in the Involuntary Petition is Not Dispositive

       20.     The Court asked Petitioning Creditors to brief the question whether failing to check

the box on paragraph 11 of the involuntary petition is dispositive. The involuntary petition filed

at ECF 23 amended the original involuntary petition at ECF 1. The Court required the Petitioning

Creditors to include a redline reflecting each change from the original involuntary petition. The

original involuntary petition correctly had the box checked in paragraph 11. The redline showed

no changes to this paragraph. Therefore, the Debtor had actual knowledge of the election based

on the redline attached to ECF 23.      There is no prejudice or harm to the Debtor for failing to

check the box at ECF 23. The Debtor did not raise this argument in its pleadings and did not raise


36
       8/20/19 Hr. 61:7-12.
37
       8/20/19 Hr. 65:2-3.


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the argument until the second day of trial – approximately a month after the first day of trial. The

Debtor waived this argument by failing to raise it in its pleadings and by failing to raise it during

the first day of trail.

        B.       No Bona Fide Dispute Exists Because Debtor Cannot Prove Enforceable
                 Modifications To the Investor Agreements

        21.      The Debtor attempt to create a bona fide dispute as to liability by alleging that the

Debtor and the Petitioning Creditors orally modified the terms of the Investor Agreements. The

Fifth Circuit has adopted an “objective standard” for determining whether a bona fide dispute

exists. Matter of Sims, 994 F.2d 210, 221 (5th Cir. 1993). The Fifth Circuit applies the following

methodology when applying the objective standard:

        [T]he petitioning creditor must establish a prima facie case that no bona fide dispute
        exists. Once this is done, the burden shifts to the debtor to present evidence
        demonstrating that a bona fide dispute does exist. Because the standard is objective,
        neither the debtor’s subjective intent nor his subjective belief is sufficient to meet
        this burden. The court’s objective is to ascertain whether a dispute that is bona fide
        exists; the court is not to actually resolve the dispute. This does not mean that the
        bankruptcy court is totally prohibited from addressing the legal merits of the alleged
        dispute; indeed, the bankruptcy court may be required to conduct a limited analysis
        of the legal issues in order to ascertain whether an objective legal basis for the
        dispute exists. Finally, because the determination as to whether a dispute is bona
        fide will often depend ... upon an assessment of witnesses’ credibilities and other
        factual considerations, the bankruptcy court's determination in this regard is a
        factual finding that may be overturned on appeal only if it is clearly erroneous.

              1. Debtor Failed To Prove Alleged Modifications

        22.      “A modification of a contract must satisfy the elements of a contract: a meeting of

the minds supported by consideration.” Williams v. Colthurst, 253 S.W.3d 353, 359 (Tex. App.—

Eastland 2008, no pet.) (citing Hathaway v. Gen. Mills, Inc., 711 S.W.2d 227, 228 (Tex. 1986)).

Whether a contract is modified depends on the parties’ intentions and is a question of fact. Id.

“When a party agrees to do no more than that which he is already bound to do under an existing

contract, the consideration is not sufficient to support a modification.” Arthur J. Gallagher & Co.



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v. Dieterich, 270 S.W.3d 695, 702 (Tex. App.—Dallas 2008). The burden of proving modification

rests on the party asserting the modification. Colthurst, 253 S.W.3d at 359.

       23.      Here, the Debtor has failed to meet its burden to demonstrate that there are oral

modifications to the Investor Agreements.            The Debtor has not demonstrated that there was a

meeting of the minds with respect to the material terms of such modifications. When asked about

the terms of the modifications, Mr. Parker testified: “As you asked earlier if there were, you know,

when and what were the modifications. I don't recall the specifics.”38            There cannot be a

modification if the material terms of the modification are unknown.

       24.      Furthermore, the Debtor did not establish that there was any consideration given

for the alleged modifications. Pursuant to the Contractor Agreements, the Debtor was to complete

construction within twelve months of the commencement date.39 The Debtor argues that the

Petitioning Creditors requested that the Debtor delay construction; however, this allegation is

simply not credible as a delay would be no benefit to the Petitioning Creditors. Mr. Foster testified

it was the opposite and he was frustrated by the construction delays.40 The Debtors have not

established what consideration the Petitioning Creditors received for assuming hundreds of

thousands of liabilities that were the responsibility of the Debtors.

             2. Oral Modifications to the Investor Agreements Are Unenforceable

       25.      Section 26.01 of the Texas Business and Commerce Code, known as the statute of

frauds, provides, among other things, that an agreement for the sale of real estate is not enforceable

unless the agreement is in writing and signed by the person to be charged with the agreement. Tex.

Bus. & Comm. Code § 26.01.



38
       8/20/19 Hr. 64:19-21.
39
       Petitioning Creditors’ Exhibits, 1, 2 and 4, Contractor Agreements, § 2.
40
       8/20/19 Hr. 85:9-10.


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       26.     The Investor Agreements are agreements for the sale of real property. Sections 7

and 8 of the Investor Agreements discuss the closing of the sale of the Projects and how the title

company is to handle the distribution of proceeds of such sale. Because these Investor Agreements

are agreements for the sale of real property, any oral modifications are not enforceable. The Debtor

admitted that the modifications were not in writing.41 Therefore, these alleged modifications are

not enforceable and there is no basis for a bona fide dispute based on such modifications.

       C.      No Bona Fide Dispute Exists Because Each Petitioning Creditor Has
               Noncontingent, Undisputed Unsecured Claims of at Least $16,750

       27.     Under Section 303(b) of the Bankruptcy Code, a creditor is an eligible petitioning

creditor if it has noncontingent, undisputed unsecured claim in the amount of at least $16,750.42

Here, each Petitioning Creditors has established that the Debtor owes them a noncontingent,

undisputed unsecured claim in an amount of at least $16,750.

       28.     “[E]ven if this Court were to find that there is some dispute as to a portion of [a

petitioning creditor’s] claim, it does not disqualify [the petitioning creditor] from filing the

Involuntary Petition. In re CorrLine Int’l, LLC, 516 B.R. 106, 150 (Bankr. S.D. Tex. 2014) (citing

In re TLC Med. Grp., Inc., No. 04–15739, 2005 WL 4677807, at *2 (E.D.La.2005) (“A dispute as

to a portion of a claim does not disqualify a creditor from filing an involuntary petition.”)). It only

matters if the dispute related to the claim has the potential to reduce the total amount of the

petitioning creditors claim below the statutory threshold. In re DemirCo Holdings, Inc., 2006

Bankr. LEXIS 1131, 2006 WL 1663237; see also 2 Collier on Bankruptcy P 303.11 (16th 2019)

(“[D]isqualifying a creditor because a portion of its debt is in dispute could curtail the ability of

creditors to resort to a remedy Congress intended them to have.”)


41
       8/20/19 Hr. 35: 20-23.
42
       This amount was adjusted on April 1, 2019. 84 FR 3488.




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       29.      Here, under the Investor Agreement, the Debtor guaranteed a minimum profit of

$50,000 upon the sale of each Project.43 It is undisputed that the Debtor never paid this amount.44

This amount is sufficient for the Petitioning Creditors to be eligible petitioning creditors under

Section 303(b) of the Bankruptcy Code.

       30.      Under the Investor Agreements, the Debtor is also required to pay each Petitioning

Creditor the amounts required under section 6 of the Investor Agreement, i.e., the additional funds

over and above the construction loans and the Equity Loans. As set forth above, the amount of

the additional funds in excess over the construction loan and the equity loan is $711,573.41 for

415 Shadywood, $119,375.00 for 2203 Looscan Lane and $969,506.04 for Houtex Builders, LLC

(the addition of 3 Thornblade and 5325 Lynbrook). It is undisputed that the Debtor never paid

these amounts at closing as required under Section 8 of the Investor Agreements.45

       31.      The Petitioning Creditors have demonstrated that they each have a noncontingent,

undisputed unsecured claim in the amount of at least $16,750 against the Debtor. Accordingly,

there is no bona fide dispute as to the amount of the claims required for the commencement of the

involuntary bankruptcy case.

       D.       Debtor Generally Does Not Pay Debts As They Become Due

       32.      The Bankruptcy Code does not define the term “generally not paying” its debts.

Courts generally consider the following factors: the number of debts; the amount of the

delinquency; the materiality of the nonpayment; and the nature and conduct of the debtor’s

business. In re Bates, 545 B.R. 183 (Bankr. W.D. Tex. 2016); Murrin v. Hanson (In re Murrin),

477 B.R. 99, 107 (D. Minn. 2012); In re Tarletz, 27 B.R. 787 (Bankr. D. Colo. 1983). Here, these



43
       Petitioning Creditors’ Exhibits 1, 2, 3 and 4, Investor Agreement, § 8.
44
       8/20/19 Hr. 61:5-12.
45
       8/20/19 Hr. 61:7-12.


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factors heavily weigh in favor of finding that the Debtor is generally not paying its debts as they

become due.

       33.     First, with respect to the number of debts, the only debts that the Court has to

consider in the record are the additional funds incurred in connection with the Projects and the

failure to pay the required amounts in connection with the closings of the Projects. There has

been no showing of the number of other debts that the Debtor may be paying. Even if the Debtor

were paying small recurring creditors, bankruptcy courts throughout this circuit do not consider

small recurring creditors in determining the number of creditors. In re Smith, 415 B.R. 222, 232

(Bankr. N.D.Tex. 2009) (citing In re Moss, 249 B.R. at 419; Denham v. Shellman Grain Elevator,

Inc., 444 F.2d 1376 (5th Cir.1971)). Therefore, the Court should exclude any small, recurring

creditors.

       34.     Second, with respect to the amount of the delinquency, the amounts are substantial.

As noted above, the Debtor owes the Petitioning Creditors $50,000 for the guaranteed payment

plus the additional funding amounts. Accordingly, the Debtor owes the Petitioning Creditors, at

a minimum, the following amounts - $761,573.41 for 415 Shadywood, $169,375.00 for 2203

Looscan Lane and $1,019,506.04 for Houtex Builders, LLC. These amounts become due at the

closing of the Projects which occurred in late 2018, in the case of 3 Thornblade, and early 2019,

in the case of 415 Shadywood and 2203 Looscan Lane.

       35.     Third, with respect to the materiality, “[t]he failure to pay just one significant

creditor can support a finding that the debtor is generally not paying its debts.” In re Bates, 545

B.R. 183, 190 (Bankr. W.D. Tex. 2016) (citing In re Euro–Am. Lodging Corp., 357 B.R. 700, 713

(Bankr. S.D.N.Y.2007)). The Debtor runs a homebuilding business. As part of its business, it

finds investors including the Petitioning Creditors to finance the building of the homes.      The




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payments owed to the Petitioning Creditors under the Investor Agreement are significant in amount

and relate directly to the Debtor’s principal business activity – finding investors and building

homes.

          36.      Fourth, with respect to the nature and conduct of the Debtor’s business, the record

at the trial includes evidence that the Debtor is mismanaging its business. For example, Mr. Parker

admitted that he comingled funds among the different Projects.46 Such comingling makes it

difficult to identify Debtor’s breaches of the Investor Agreements. Moreover, Debtor cannot

account for funds it has received from investors. For example, Mr. Parker admitted that Debtor

took money from Jim Nored, but he did not know how much was borrowed, how much was owed,

or even who knew the answers to these questions.47 Furthermore, Mr. Foster invested $4 to $5

million through an entity Lilly Charles Homes, but Debtor cannot account for where this money

went.48

          37.      Here, the factors clearly weigh in favor of finding that Debtor is not generally

paying its debts as the come due.

          E.       Purpose of the Involuntary Petition

          38.      The Court asked the Petitioning Creditors about the purpose of the involuntary

petition.       As noted above, the Debtor is mismanaging funds.        It is not just the Petitioning

Creditors’ funds, but also mismanaging funds from other investors. The Bankruptcy Court should

oversee the process of monetizing Debtor’s interests in its projects to ensure that the investors are

fairly treated and compensated.




46
          8/20/19 Hr. 60:20-21.
47
          Petitioning Creditors Exhibit 8 Tr. 12:14-19:2.
48
          8/20/19 Hr. 54:10-21; 84:16-21.


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        39.     Furthermore, the Petitioning Creditors will show to the Court in connection with

the pending Emergency Motion To Appoint a Chapter 11 Trustee [ECF 3], that Anna Williams,

Debtor’s owner and the wife of Mr. Parker, has taken more than $5 million in membership

distributions from September 2012 to August 2018. Mr. Parker has alleged that these member

draws are expense reimbursements; however, this does not make sense for a couple reasons. First,

the member draws are typically in even multiples of tens of thousands each. Second, under the

terms of the Investor Agreements, which appears to be the Debtor’s form contract, the Debtor is

responsible for any funds over the construction loans or the equity loans. Accordingly, the Debtor

would not be entitled to expense reimbursements. The Bankruptcy Court should oversee the

process of clawing back and avoiding these membership draws.

                                        CONCLUSION

        WHEREFORE, the Petitioning Creditors respectfully request that this Court enter findings

of facts and conclusions of law substantially in the form attached hereto and provide such other

relief as is just and proper.

Dated: September 6, 2019                                    Respectfully submitted,

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